            IN THE DISTRICT COURT OF THE UNITED STATES
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        CHARLOTTE DIVISION

                     CRIMINAL CASE NO. 3:08cr10

UNITED STATES OF AMERICA, )
                          )
                          )
             vs.          )                          ORDER
                          )
                          )
ROSWELL BOWMAN.           )
                          )


     THIS MATTER is before the Court sua sponte to extend the time

within which to file a Plea Agreement.

     The Court finds that the deadline should be extended through August

8, 2008.

     IT IS, THEREFORE, ORDERED that any Plea Agreement in this

matter shall be filed on or before August 8, 2008.

     IT IS SO ORDERED.




                                     Signed: July 7, 2008




      Case 3:08-cr-00010-MR   Document 37         Filed 07/07/08   Page 1 of 1
